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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION

____________________________________
                                        )
General Tools & Instruments, LLC        )
                                        )           Case No. 1:19-cv-02519
              v.                        )
                                        )           Judge: Honorable Robert W. Gettleman
Does 1-2092, As Identified in Exhibit 2 )
                                        )           Magistrate: Honorable Sunil R. Harjani
                                        )
____________________________________)

                                         VOLUNTARY DISMISSAL

        Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the undersigned counsel for

Plaintiff, General Tools & Instruments, LLC, hereby notifies this Court that the Plaintiff voluntarily dismisses

with prejudice any and all claims against the following defendants:

 Defendant                Merchant Name                          Email
 886                      kingsdirect                            kd24service@hotmail.com
 1190                     sallyfashiondresseslimited             sili2018@hotmail.com
 1193                     chinese_style                          sili2019@hotmail.com
 1267                     广州陆顺电子科技有限公司店铺3                        lily2015602@163.com
 1387                     优乐潮                                    342650369@qq.com



Dated: July 23, 2019
                                                                          Respectfully submitted,

                                                                             By:    /s/ Rishi Nair

                                                                                       Rishi Nair
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